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 1   PROMETHEUS PARTNERS LLP
     EDUARDO G. ROY (SBN 146316)
 2   eduardo.roy@prometheus-law.com
     The Mills Tower
 3   220 Montgomery Street, Suite 1094
     San Francisco, CA 94104
 4   Telephone: 415.527.0255
 5   Attorney for Defendant
     Rachel Siders
 6

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 8                            IN THE UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,                        Case No. 2:11-CR-0210 JAM
12                      Plaintiff,                    ORDER TO CONTINUE SENTENCING
                                                      HEARING
13   v.
14   Kuzmenko, et al.
                                                      Court: Hon. John A. Mendez
15                      Defendant.
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                                                 ORDER
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21   IT IS ORDERED that the sentencing hearing in this matter, currently set for March 22, 2016, is
22   continued to June 21, 2016 at 9:15 a.m.

23   Dated: February 24, 2016

24                                               /s/ John A. Mendez_______________________
                                                 Hon. John A. Mendez
25                                               UNITED STATES DISTRICT COURT JUDGE
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                                              (Proposed) Order
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